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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                 4:09CR3102-2
                                              )
              V.                              )
                                              )
STEPHANIE THI NGUYEN,                         )                     ORDER
                                              )
                     Defendant.               )
                                              )


       I am in receipt of a letter from the defendant.

       IT IS ORDERED that:

       (1)    The Clerk of Court shall file the letter.

       (2)    Treating the letter as a motion, the motion is denied.

      (3)     The Clerk of Court shall provide a copy of this order and the defendant’s letter
to counsel for the government, to counsel for the defendant, and to the defendant at
defendant’s last known address.

       Dated May 3, 2010.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             United States District Judge
